 

 

a og

IN THE UNITED STATES DISTRICT.COURT- |
DISTRICT OF dit

FOR THE DISTRICT OF NEW MEXICO 2

 

 

co

if 2:52
A. ROCIO BRIMHALL-MANGANO,

opt be ‘
Mee ae yop eee.
Mp AA | 070 (ehh,

Plaintiff, CUEEK-CONTA PE

 

”

vs. NO. CIV 97-0598 MV/WWD
DR. OLEN PAUL MATTHEWS, et al.,

Defendants.
SPECIAL VERDICT AND INTERROGATORIES

Your function as a jury in this proceeding differs from the ordinary trial in which the jury
renders a general verdict. In this proceeding, it will be your duty to answer each of the following
questions upon forms of special verdict and interrogatories which will be given to you. In
answer to the special verdict and interrogatories propounded by the court, we make the following
answers to which we have agreed:

Question No. 1:

1. Did defendant University of New Mexico discriminate against Plaintiff A. Rocio
Brimhall-Mangano on the basis of her gender or national origin by creating a hostile work
environment?

Answer: | Jo (yes or no)

If yes, proceed to Question No. 2. If no, proceed to Question No. 4

/2"|
 

Question No. 2:

2. Did the discriminatory acts of defendant University of New Mexico cause
damages to Plaintiff?

Answer: (yes or no)

If yes, proceed to Question No. 3. If no, proceed to Question No. 4

«

Question No. 3:
3. In accordance with the damage instruction given by the court, we find the amount of
damages owing by defendant University of New Mexico to be $

Proceed to Question No. 4

Question No. 4:
4. Did defendant University of New Mexico retaliate against Plaintiff A. Rocio Brimhall-
Mangano because of her opposition to discrimination?
4

Answer: C (yes or no)

If yes, proceed to Question No. 5. If no, then proceed to Question No. 7

Question No. 5:

5. Did the retaliatory acts of defendant University of New Mexico cause damages to

Plaintiff?

Answer: gS (yes or no)

If yes, proceed to Question No. 6. If no, proceed to Question No. 7
 

 

Question No. 6:
6. In accordance with the damage instruction given by the court, we find the amount of
; a

damages owing by defendant University of New Mexico to be $ II t 453 ~

Proceed to Question No. 7.

Question No. 7:

7. Did defendant Dr. Olen Paul Matthew deprive Plaintiff A. Rocio Brimhall-Mangano
of her rights of Free Speech as guaranteed by the United States Constitution?

Answer: No (yes or no)

If yes, proceed to Question No. 8. If no, proceed to Question No. 11

Question No. 8:

8. Did any deprivation of Plaintiff's rights to Free Speech by defendant Dr. Olen Paul
Matthews cause damages to Plaintiff?

Answer: (yes or no)

If yes, proceed to Question No. 9. If no, proceed to Question No. 11.

Question No. 9:
9. In accordance with the damage instruction given by the court, we find the amount of
compensatory damages owing by defendant Dr. Olen Paul Matthews to Plaintiff to be $

Proceed to Question No. 10.
 

Question No. 10:
9. In accordance with the damage instruction given by the court, we find the amount of

punitive damages owing by defendant Dr. Olen Paul Matthews to Plaintiff to be $

 

Question No.11:
11. Did defendant Dr. Olen Paul Matthew deprive Plaintiff A. Rocio Brimhall-Mangano
of her rights of right to progressive discipline as guaranteed by the United States Constitution?

Answer: 0 (yes or no)

If yes, Proceed to Question No. 12. If no, please execute the Special Verdict Form.

Question No. 12:

12. Did the deprivation of Plaintiff 5 right to progressive discipline cause damages to
Plaintiff?

Answer: (yes or no)

If yes, proceed to Question No. 12. If no, please execute the Special Verdict Form.

Question No. 13:
13. In accordance with the damage instruction given by the court, we find the amount of
compensatory damages owing by defendant Dr. Olen Paul Matthews to Plaintiff to be $

Proceed to Question No. 14.
 

Question No. 14:

14. In accordance with the damage instruction given by the court, we find the amount of

punitive damages owing by defendant Dr. Olen Paul Matthews to Plaintiff to be $

Foreperson

 
